     Case 4:24-cv-04742   Document 20    Filed on 03/27/25 in TXSD   Page 1 of 2
                                                                       United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                     UNITED STATES DISTRICT COURT                             March 28, 2025
                                                                            Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION



In re:

                                           Chapter 11
RED RIVER TALC LLC,
                                           Case No. 24-90505 (CML)

Debtor


THE COALITION OF COUNSEL FOR
JUSTICE FOR TALC CLAIMANTS,

Appellant,                                 Civil Action No. 4:24-cv-04742

v.                                         Hon. Keith P. Ellison, U.S.D.J.

RED RIVER TALC LLC,

Appellee.



  ORDER GRANTING UNOPPOSED MOTION FOR LEAVE TO FILE AN
                      APPENDIX

Pending before the Court is the Coalition of Counsel for Justice for Talc

Claimants’ (the “Coalition”) Motion for Leave to File an Appendix to its Brief

(ECF 19). Counsel for the Debtor consents to the filing of this Appendix.
  Case 4:24-cv-04742      Document 20      Filed on 03/27/25 in TXSD   Page 2 of 2




      Having reviewed the record in this matter, the Coalition’s Motion is

GRANTED. The Appendix lodged with the Motion is deemed filed. It is SO

ORDERED.


  IT IS SO ORDERED.

  SIGNED at Houston, Texas on this the 27th of March, 2025




                                           KEITH P. ELLISON
                                           UNITED STATES DISTRICT JUDGE




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